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                            UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    RALEIGH DIVISION


  IN RE:                                                 )
                                                         )            CHAPTER 7
  TIMOTHY OMAR HANKINS, SR.,                             )       CASE NO.: 18-03044-5-DMW
                                                         )
           DEBTOR                                        )


                       ARGUMENT IN SUPPORT OF MOTION TO DISMISS

           The case of the Debtor Timothy Omar Hankins, Sr. (hereinafter “Debtor”) should be

  dismissed for cause pursuant to 11 U.S.C. 707(a). Virtually none of the documents and

  pleadings filed by the Debtor in this case have been well-grounded in fact. Nor has the relief

  requested in the pleadings been supported by the facts or warranted by the law. They have been

  comprised primarily of redundant, immaterial, impertinent, and scandalous matters and

  allegations. The Debtor’s filings have been interposed for improper purposes, to harass and to

  cause needless increase in the cost of administration of this case. There is every reason to

  believe that if this case is not dismissed, the Debtor will continue with these filings.

           The pleadings and other documents filed by the Debtor demonstrate that he has an

  engrained and paranoid contempt for the judicial system, in general, and lawyers, in particular.

  He can dislike lawyers, but he is not entitled to seek relief under the Bankruptcy Code with the

  “intent” and contempt he has manifested in his filings.

           The abyss between reality and the world as seen through the eyes of the Debtor is

  apparent from his own statements alone, but the independent Statement of Investigation filed by

  the Trustee [DE 151] leaves no doubt that the Debtor has made and continues to make false and

  frivolous statements and claims related to his prior dealings with his creditors, especially Sardia
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  M. Porter-Hankins (hereinafter “Mrs. Hankins”). Mrs. Hankins incorporated the Trustee’s

  Investigation into her motion to dismiss and requests that the facts set out therein weigh heavily

  on the Court’s ruling on her motion to dismiss.

         Mrs. Hankins will not endeavor to set out all of the improper filings made by the Debtor

  in this argument, but does request that the Court take special note of the following:

         1.      The 125 pages designated as Supplement to Filing (DE 19];

         2.      Claim of Exemptions (Amended Schedule C) (Portion of DE 35];

         3.      Contempt of Court and Bankruptcy Fraud Relief [DE 70];

         4.      Exhibits [DE 98];

         5.      Response in Opposition to Motion to Dismiss [DE 175]; and

         6.      Debtor’s Notice of Intent [DE 180]

         All of these filings establish that the filing of the bankruptcy by the Debtor was with

  improper intent and for purposes unrelated to providing debt relief to the unfortunate, but honest

  debtor. However, the most recent document, “Debtor’s Notice of Intent” [DE 180] demonstrates

  this point in Debtor’s own words, as follows:

         1.      Paragraphs 3 and 8 indicate the intent to discharge all of his debts, even through

                 the debt to Mrs. Hankins is excepted from discharge pursuant to §523(a)(15). He

                 asserts constitutional and other violations, which are illusory.

         2.      Paragraphs 5 and 9 state his intent not to obtain debt relief, but to redress

                 grievances against lawyers that are not supported by facts, and not within the

                 purview of this Court to grant.

         3.      Paragraphs 16 and 21 make allegations concerning racism which are

                 inflammatory and unfounded.



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         4.      The affidavit attached to the Debtor’s Notice of Intent contains ramblings about

                 court proceedings many years ago that have no relevance to the bankruptcy

                 proceeding. The Debtor states, “I have never trusted lawyers or the

                 administration of the courts, (emphasis added).”

         The filing of this bankruptcy by the Debtor was clearly motivated solely by his

  opposition to the order entered in Wake County District Court in the equitable distribution action

  with Mrs. Hankins. It was targeted at her. The relief he seeks with respect to her enforcing that

  judgment is unattainable in either a chapter 7 or chapter 11 proceeding. Mrs. Hankins contends

  that in some respects the property awarded to her in the ED proceeding is her separate property

  and not property of the estate. However, assuming for the sake of argument, that all of the

  property constitutes property of the estate and Mrs. Hankins is just the holder of a claim, the

  claim is excepted from discharge pursuant to 11 U.S.C. §523(a)(15). Furthermore, since the

  overwhelming percentage of the allowable claim belongs to Mrs. Hankins, the liquidation of the

  estate assets in a chapter 7 will serve primarily to pay Mrs. Hankins’ claim. These consequences

  are polar opposites of the Debtor’s stated intent in filing the bankruptcy. Mrs. Hankins desires to

  have the case dismissed and enforce her claim requested under the ED Order in State Court. Her

  desire may or may not be in her best interests, but that determination is one she is entitled to

  make. Her concern that administrative expenses will diminish the payment of her claims is

  legitimate. In light of the fact that maintaining this case as a chapter 7 case doe not achieve any

  of the goals expressed by the Debtor in his most recent filing with the Court, dismissal of the

  case is the appropriate action for the Court to take.




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                                             SUMMARY

         Section 707(a) of the Bankruptcy Code authorizes the Court to dismiss a case for cause.

  A bad faith filing is deemed cause. In re Stockwell, 579 B.R. 367 (Bank. E.D.N.C. 2017). There

  can be no doubt that intent of the Debtor as set out in his own pleading, in filing this bankruptcy

  and the actions he has taken in his numerous improper filings in this case to carry out that intent

  constitutes bad faith.

         This the 27th day of February, 2019.

                                                JANVIER LAW FIRM, PLLC


                                                By: s/ William E. Brewer, Jr.
                                                    William E. Brewer, Jr.
                                                    N.C. State Bar No: 7018
                                                    311 E. Edenton Street
                                                    Raleigh, North Carolina 27601
                                                    Telephone No.: (919) 582-2323
                                                    Facsimile No.: (866) 809-2379
                                                    Email: wbrewer@janvierlaw.com




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                                    CERTIFICATE OF SERVICE

         I, Darlene Hill of the Janvier Law Firm, PLLC, do hereby certify that I served the

  attached ARGUMENT IN SUPPORT OF MOTION TO DISMISS upon the parties listed below

  by mailing a copy thereof to said parties at the address indicated below with its proper postage

  attached and deposited in an official depository under the exclusive care and custody of the

  United States Post Office in Raleigh, North Carolina or by the ECF System as allowed by law.

         Timothy Omar Hankins, Sr.
         VIA HAND DELIVERY

  The following were served via electronic service:

         Nicholas C. Brown, Chapter 11 Trustee

         Brian Behr, Bankruptcy Administrator

  I declare under penalty of perjury that the foregoing is true and correct.

         This the 27th day of February, 2019.

                                                        s/ Darlene Hill
                                                        Darlene Hill




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